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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                  CASE NO. 1:03-cr-00008-MP

CHARLES TAYLOR,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 81, Defendant's motion, under 18 U.S.C. §

3582(c)(2), regarding whether, based on Amendments 706, 711 and 715 to the United States

Sentencing Guidelines (“Guidelines”), the Court should reduce the term of imprisonment

originally imposed on Defendant. The motion was amended at Doc. 84, and the government has

responded at Doc. 82.

Statutory Background

       Under 18 U.S.C. § 3582(c), a sentencing Court may reduce an already-imposed sentence

based on an amendment to the Sentencing Guidelines in certain situations. Specifically, §

3582(c) provides:

       In the case of a defendant who has been sentenced to a term of imprisonment

       based on a sentencing range that has subsequently been lowered by the

       Sentencing Commission pursuant to 28 U.S.C. § 994(o),1 upon motion of the

       defendant, the director of the Bureau of Prisons, or on its own motion, the court



       1
        28 U.S.C. § 994(o) requires the Commission to “periodically . . . review and revise . . .
the guidelines.”
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         may reduce the term of imprisonment, after considering the factors set forth in

         section 3553(a) to the extent they are applicable, if such a reduction is consistent

         with applicable policy statements issued by the Sentencing Commission.



         Effective November 1, 2007, the United States Sentencing Commission amended Section

2D1.1, which sets out the Base Offense Levels to be applied to drug offenses. Basically, by

readjusting the minimum amount of crack cocaine required to trigger each Base Offense Level,

the Commission effectively reduced by two levels all Base Offense Levels for crack cocaine

offenses. For example before the Amendment, a person who was responsible for 2 KG of crack

cocaine would trigger the highest Base Offense (Level 38, whose cut off was 1.5 KG). Now, the

cut-off for Level 38 is 4.5 KG, and the same defendant would fall into Level 36, which runs from

1.5 KG to 4.5 KG. This amendment was for a while called Amendment Nine of 2007, but

eventually was incorporated as Amendment 706 in the Supplement to Appendix C. Amendment

706 was further amended, in part, by Amendment 711.2

         With effective dates of November 1, 2007, it was clear that these Amendments would

apply to those sentenced after that time. However, the question immediately arose whether these

Amendments should be applied retroactively to sentences imposed before November 1, 2007.



         2
         Amendment 711 amended how cocaine base and multiple other drugs were to be
converted to their marijuana equivalent - See Supplement to Appendix C (November 1, 2004,
through November 1, 2007) - Amendment 711. Amendment 706 had directed to first find the
base offense level for the other controlled substance involved, then use the table to determine the
cocaine base marijuana equivalent. Amendment 711 reversed amendment 706 on this point and
said to first find the offense level for the cocaine base involved and convert the cocaine base to
its marijuana equivalency. Then, the Court would add in the other controlled substances once
they were converted to their marijuana equivalency.
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Pursuant to 18 U.S.C. § 3582(c), such retroactive application is only proper if (1) the defendant’s

sentencing range has subsequently been lowered by the Sentencing Commission; (2) the

reduction is consistent with the factors set forth in section 3553(a) to the extent they are

applicable; and (3) such a reduction is consistent with applicable policy statements issued by the

Sentencing Commission.

         With regard to the last question - whether retroactive application of an amendment to the

Guidelines is consistent with applicable policy statements - the Commission makes its policy

statements regarding retroactivity of amendments by periodically amending Guidelines §

1B1.10. That section contains the Commission’s policy statement on retroactivity and, in §

1B1.10(c), the Commission expressly lists the Amendments that it intends to have retroactive

effect. After a hearing cycle, the Commission eventually decided that Amendments 706 and 711

should be applied retroactively and thus amended the policy statement at § 1B1.10 to list

Amendments 706 and 711. This Amendment to § 1B1.10 had an effective date of March 3,

2008. The effect of all this was that the Commission had thus voted to give retroactive effect, as

of March 3, 2008, to Amendments 706 and 711.

Applying the Retroactivity Provisions in § 1B1.10 in General

         In addition to adding Amendments 706 and 711 to the list of retroactively effective

amendments, the amended § 1B1.10 contains some exclusions and limitations. First, § 1B1.10

provides:

         (2) Exclusions.—A reduction in the defendant’s term of imprisonment is not consistent
         with this policy statement and therefore is not authorized under 18 U.S.C. § 3582(c)(2)
         if—

                  (A) none of the amendments listed in subsection (c) is applicable to the
                  defendant; or

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                  (B) an amendment listed in subsection (c) does not have the effect of lowering the
                  defendant’s applicable guideline range.

In the Application Notes, the Commission gives this explanation:

         Eligibility.—Eligibility for consideration under 18 U.S.C. § 3582(c)(2) is
         triggered only by an amendment listed in subsection (c) that lowers the applicable
         guideline range. Accordingly, a reduction in the defendant’s term of
         imprisonment is not authorized under 18 U.S.C. § 3582(c) and is not consistent
         with this policy statement if: (A) none of the amendments listed in subsection (c)
         is applicable to the defendant; or (B) an amendment listed in subsection (c) is
         applicable to the defendant but the amendment does not have the effect of
         lowering the defendant’s applicable guideline range because of the operation of
         another guideline or statutory provision (e.g., a statutory mandatory minimum
         term of imprisonment).

Additionally, § 1B1.10 allows the Court, but does not require the Court, to depart below the

minimum of the amended guidelines range in cases where the original sentence was below the

Guidelines range:

         Exception.—If the original term of imprisonment imposed was less than the term
         of imprisonment provided by the guideline range applicable to the defendant at
         the time of sentencing, a reduction comparably less than the amended guideline
         range determined under subdivision (1) may be appropriate. However, if the
         original term of imprisonment constituted a non-guideline sentence determined
         pursuant to 18 U.S.C. § 3553(a) and United States v. Booker, 543 U.S. 220
         (2005), a further reduction generally would not be appropriate.

Guidelines § 1B1.10(b)(2)(B). This provision applies most often to cases in which a substantial

assistance motion under Guidelines § 5K1.1 or 18 U.S.C. § 3553(e) or Fed. R. Crim. P. 35(b) (or

all three) is or are filed by the Government. In such cases, the Court can, but is not required to,

reduce the sentence to represent a similar percentage reduction when compared to the amended

Guidelines range. As the Application Notes to Guidelines § 1B1.10 state:

         If the original term of imprisonment imposed was less than the term of
         imprisonment provided by the guideline range applicable to the defendant at the
         time of sentencing, a reduction comparably less than the amended guideline
         range determined under subsection (b)(1) may be appropriate. For example, in a

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         case in which: (1) the guideline range applicable to the defendant at the time of
         sentencing was 70 to 87 months; (2) the defendant’s original term of
         imprisonment imposed was 56 months (representing a downward departure of 20
         percent below the minimum term of imprisonment provided by the guideline
         range applicable to the defendant at the time of sentencing); and (3) the amended
         guideline range determined under subsection (b)(1) is 57 to 71 months, a
         reduction to a term of imprisonment of 46 months (representing a reduction of
         approximately 20 percent below the minimum term of imprisonment provided by
         the amended guideline range determined under subsection (b)(1)) would amount
         to a comparable reduction and may be appropriate.

The Court notes, however, that when the undersigned considers whether to impose a sentence

below a statutory minimum (under 18 U.S.C. § 3553(e)), to depart downward from the

Guidelines (pursuant to § 5K1.1), or to reduce a sentence under Fed. R. Crim. P. 35(b), the Court

expressly considers the factors listed in 18 U.S.C. § 3553 to craft a sentence that is appropriate

under the totality of the circumstances. Accordingly, it is likely that an Amendment to the

Guidelines, from which the Court in such cases has already been freed, would not affect the

Court’s determination of the appropriate sentence in cases where a previous downward departure

or reduction has been granted.

         Also, by its language, 18 U.S.C. § 3582(c) applies only to “a term of imprisonment based

on a sentencing range.” Thus as Application Note 4 states, “Only a term of imprisonment

imposed as part of the original sentence is authorized to be reduced under this section. This

section does not authorize a reduction in the term of imprisonment imposed upon revocation of

supervised release.”

         Finally, and most importantly, 18 U.S.C. § 3582(c) and § 1B1.10 make clear that the

question of whether “a reduction in the term of imprisonment may be appropriate for previously

sentenced, qualified defendants” remains squarely within “the sound discretion of the court.”

See Background to § 1B1.10, which states:

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         The listing of an amendment in subsection (c) reflects policy determinations by
         the Commission that a reduced guideline range is sufficient to achieve the
         purposes of sentencing and that, in the sound discretion of the court, a reduction
         in the term of imprisonment may be appropriate for previously sentenced,
         qualified defendants. The authorization of such a discretionary reduction does not
         otherwise affect the lawfulness of a previously imposed sentence, does not
         authorize a reduction in any other component of the sentence, and does not entitle
         a defendant to a reduced term of imprisonment as a matter of right.

Application to the Instant Case

         With these principles in mind, we turn to the instant case. The Defendant's original

sentence, 120 months was below the bottom of his Guidelines range of 168-210 months. This

sentence represented the discretion of the Court taking into account all the circumstances of the

case, once the Court was free of the Guidelines and the statutory mandatory minimum.

         Accordingly it is hereby

         ORDERED AND ADJUDGED:

         No reduction pursuant to 18 U.S.C. § 3582(c)(2) is appropriate., and the motion at Docs.
         81 & 84 is denied. The motion for appointment of counsel, Doc. 83, is denied.

         DONE AND ORDERED this 15th day of December, 2008


                                         s/Maurice M. Paul
                                    Maurice M. Paul, Senior District Judge




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